        Case 1:20-cv-00059-LAG Document 20 Filed 04/20/21 Page 1 of 10




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF GEORGIA

DEBORAH LAUFER, Individually,

Plaintiff,

v.                                                  Case No. 1:20-cv-00059-LAG

HJL HOSPITALITY LLC,

Defendant.

_______________________________/

                                  AMENDED COMPLAINT
                                 (Injunctive Relief Demanded)


                Plaintiff, DEBORAH LAUFER. Individually, on her behalf and on behalf of all

other individuals similarly situated, (sometimes referred to as "Plaintiff'), hereby sues the

Defendant, HJL Hospitality LLC, (sometimes referred to as "Defendant"), for Injunctive Relief,

and attorney's fees, litigation expenses, and costs pursuant to the Americans with Disabilities

Act, 42 U.S.C. § 12181 et. seq., (“ADA").

1.             Plaintiff is a resident of Pasco County, Florida, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the major

life activity of walking more than a few steps without assistive devices. Instead, Plaintiff is

bound to ambulate in a wheelchair or with a cane or other support and has limited use of her

hands. She is unable to tightly grasp, pinch and twist of the wrist to operate. Plaintiff is also

vision impaired. When ambulating beyond the comfort of her own home, Plaintiff must

primarily rely on a wheelchair. Plaintiff requires accessible handicap parking spaces located

closest to the entrances of a facility. The handicap and access aisles must be of sufficient width

so that she can embark and disembark from a ramp into her vehicle. Routes connecting the
         Case 1:20-cv-00059-LAG Document 20 Filed 04/20/21 Page 2 of 10




handicap spaces and all features, goods and services of a facility must be level, properly sloped,

sufficiently wide and without cracks, holes or other hazards that can pose a danger of tipping,

catching wheels or falling. These areas must be free of obstructions or unsecured carpeting that

make passage either more difficult or impossible. Amenities must be sufficiently lowered so

that Plaintiff can reach them. She has difficulty operating door knobs, sink faucets, or other

operating mechanisms that tight grasping, twisting of the wrist or pinching. She is hesitant to

use sinks that have unwrapped pipes, as such pose a danger of scraping or burning her legs.

Sinks must be at the proper height SO that she can put her legs underneath to wash her hands.

She requires grab bars both behind and beside a commode so that she can safely transfer and

she has difficulty reaching the flush control if it is on the wrong side. She has difficulty getting

through doorways if they lack the proper clearance.

2.      Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

"tester" for the purpose of asserting her civil rights and monitoring, ensuring, and determining

whether places of public accommodation and their websites are in compliance with the ADA.

3.      According to the county property records, Defendant owns a place of public

accommodation as defined by the ADA and the regulations implementing the ADA. 28 CFR

36.201(a) and 36.104. The place of public accommodation that the Defendant owns is a place of

lodging known as Araamda Inn Albany GA, and is located at 911 E Oglethorpe Blvd, Albany,

Georgia in the County of Dougherty, (hereinafter "Property").

4.      Venue is properly located in the Middle District of Georgia because the injury occurred

in this district.

5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

jurisdiction over actions which arise from the Defendant's violations of Title III of the
        Case 1:20-cv-00059-LAG Document 20 Filed 04/20/21 Page 3 of 10




Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and §

2202.

6.      As the owner of the subject place of lodging, Defendant is required to comply with the

ADA. As such, Defendant is required to ensure that its place of lodging is in compliance with

the standards applicable to places of public accommodation as set forth in the regulations

promulgated by the Department of Justice. Said regulations are set forth in the Code Of Federal

Regulations, the Americans With Disabilities Act Architectural Guidelines ("ADAAGs"), and

the 2010 ADA Standards, incorporated by reference into the ADA. These regulations impose

requirements pertaining to places of public accommodation, including places of lodging, to

ensure that they are accessible to disabled individuals.

7.      More specifically, 28 C.F.R. Section 36.302(e)(1)(The “Regulation”) imposes the

following requirement:

Reservations made by places of lodging. A public accommodation that owns, leases (or leases

to), or operates a place of lodging shall, with respect to reservations made by any means,

including by telephone, in-person, or through a third party -

        (i) Modify its policies, practices, or procedures to ensure that individuals with

        disabilities can make reservations for accessible guest rooms during the same hours and

        in the same manner as individuals who do not need accessible rooms;

        (ii) Identify and describe accessible features in the hotels and guest rooms offered

        through its reservations service in enough detail to reasonably permit individuals with

        disabilities to assess independently whether a given hotel or guest room meets his or her

        accessibility needs;
        Case 1:20-cv-00059-LAG Document 20 Filed 04/20/21 Page 4 of 10




       (iii) Ensure that accessible guest rooms are held for use by individuals with disabilities

       until all other guest rooms of that type have been rented and the accessible room

       requested is the only remaining room of that type;

       (iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms and

       ensure that the guest rooms requested are blocked and removed from all reservations

       systems; and

       (v) Guarantee that the specific accessible guest room reserved through its reservations

       service is held for the reserving customer, regardless of whether a specific room is held

       in response to reservations made by others.

8.     This Regulation became effective March 15, 2012.

9.     Defendant, either itself or by and through a third party, implemented, operates, controls

and or maintains websites for the Property which contains an online reservations system. This

term also includes all other websites owned and operated by Defendant or by third parties to

book or reserve guest accommodations at the hotel: www.expedia.com, www.hotels.com,

www.booking.com, www.orbitz.com, and www.priceline.com. The purpose of these websites is

so that members of the public may reserve guest accommodations and review information

pertaining to the goods, services, features, facilities, benefits, advantages, and accommodations

of the Property. As such, these websites are subject to the requirements of 28 C.F.R. Section

36.302(e).

10.    Plaintiff has traveled through and to Georgia numerous times and has stayed in hotels

during her visit. Since 2019, Plaintiff has plans to drive from Florida to Maine along the East

Coast, then across the Northern States to Colorado, then across the Southern States to Florida.

She had originally planned to make this trip during the summer 2020, but now awaits the
        Case 1:20-cv-00059-LAG Document 20 Filed 04/20/21 Page 5 of 10




passing of the Covid crisis and will travel as soon as restrictions are lifted. She will bring her

grandchild with her and will meander throughout the states in which she travels, visiting tourist,

educational and historical sites. This includes the region surrounding Albany. She will need to

stay in area hotels during her journey and needs hotel online reservations systems to comply

with the Regulation so that she can make a meaningful choice in selecting her hotels and book

an accessible room.



11.    On multiple occasions, prior to the commencement of this lawsuit, Plaintiff visited the

websites for the purpose of reviewing and assessing the accessible features at the Property and

ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and her

accessibility needs. . Plaintiff also visited it for the purpose of ascertaining whether she would

be able to stay in a hotel during her trip However, Plaintiff was unable to do so because

Defendant failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e) ) and

failed to provide information to the third parties to provide an option for booking an accessible

room and for failing to provide information regarding the accessibility at the hotel. As a result,

Plaintiff was deprived the same goods, services, features, facilities, benefits, advantages, and

accommodations of the Property available to the general public. Specifically:

12.     The third party booking site located at www.expedia.com: did not comply with the

Regulation because it did not identify accessible rooms, did not allow for booking of accessible

rooms and provided insufficient information as to whether the rooms or features at the hotel are

accessible. Hotel amenities, room types and amenities are all listed in detail. No information

was given about accessibility in the hotel.
        Case 1:20-cv-00059-LAG Document 20 Filed 04/20/21 Page 6 of 10




13.    The third party booking site located at www.hotels.com: did not comply with the

Regulation because it did not identify accessible rooms, did not allow for booking of accessible

rooms and provided insufficient information as to whether the rooms or features at the hotel are

accessible. Hotel amenities, room types and amenities are all listed in detail. No information

was given about accessibility in the hotel.

14.    The third party booking site located at www.booking.com: did not comply with the

Regulation because it did not identify accessible rooms, did not allow for booking of accessible

rooms and provided insufficient information as to whether the rooms or features at the hotel are

accessible. Hotel amenities, room types and amenities are all listed in detail. No information

was given about accessibility in the hotel.

15.    The third party booking site located at: www.orbitz.com: did not comply with the

Regulation because it did not identify accessible rooms, did not allow for booking of accessible

rooms and provided insufficient information as to whether the rooms or features at the hotel are

accessible. Hotel amenities, room types and amenities are all listed in detail. No information

was given about accessibility in the hotel.

16.    The third party booking site located at www.priceline.com: did not comply with the

Regulation because it did not identify accessible rooms, did not allow for booking of accessible

rooms and provided insufficient information as to whether the rooms or features at the hotel are

accessible. Hotel amenities, room types and amenities are all listed in detail. No information

was given about accessibility in the hotel.

17.    In the near future, Plaintiff intends to revisit Defendant's websites and/or online

reservations systems in order to test them for compliance with 28 C.F.R. Section 36.302(e)

and/or to utilize the websites to reserve a guest room and otherwise avail herself of the goods,
        Case 1:20-cv-00059-LAG Document 20 Filed 04/20/21 Page 7 of 10




services, features, facilities, benefits, advantages, and accommodations of the Property. .

Plaintiff has a system whereby she maintains a list of all hotels she has sued over online

reservation discrimination and revisits each shortly after a complaint is filed, then calendars the

dates on which the hotel is required to become complaint and revisits when that date arises. By

this system, she ensures that she revisits a hotel’s system at least twice after a case is filed. She

also intends to revisit the hotels online reservations system for purposes of arranging her stay

during her upcoming trip.



18.    Plaintiff is continuously aware that the subject websites remain non-compliant and that

it would be a futile gesture to revisit the websites as long as those violations exist unless she is

willing to suffer additional discrimination.

19.    The violations present at Defendant's websites infringe Plaintiffs right to travel free of

discrimination and deprive her of the information required to make meaningful choices for

travel. Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result of

the discriminatory conditions present at Defendant's website. By continuing to operate the

websites with discriminatory conditions, Defendant contributes to Plaintiffs sense of isolation

and segregation and deprives Plaintiff the full and equal enjoyment of the goods, services,

facilities, privileges and/or accommodations available to the general public. By

encountering the discriminatory conditions at Defendant's website, and knowing

that it would be a futile gesture to return to the websites unless she is willing to endure

additional discrimination, Plaintiff is deprived of the same advantages, privileges, goods,

services and benefits readily available to the general public. By maintaining a websites with

violations, Defendant deprives Plaintiff the equality of opportunity offered to the general
        Case 1:20-cv-00059-LAG Document 20 Filed 04/20/21 Page 8 of 10




public. Defendant's online reservations system serves as a gateway to its hotel. Because this

online reservations system discriminates against Plaintiff, it is thereby more difficult to book a

room at the hotel or make an informed decision as to whether the facilities at the hotel are

accessible.

20.    Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of

the Defendant's discrimination until the Defendant is compelled to modify its websites to

comply with the requirements of the ADA and to continually monitor and ensure that the

subject websites remain in compliance.

21.    Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

the Defendant's non-compliance with the ADA with respect to these websites. Plaintiff has

reasonable grounds to believe that she will continue to be subjected to discrimination in

violation of the ADA by the Defendant.

22.    The Defendant has discriminated against the Plaintiff by denying her access to, and full

and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

accommodations of the subject website.

23.    The Plaintiff and all others similarly situated will continue to suffer such

discrimination, injury and damage without the immediate relief provided by the ADA as

requested herein.

24.    Defendant has discriminated against the Plaintiff by denying her access to full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of

its place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et

seq. and 28 CFR 36.302(e). Furthermore, the Defendant continues to discriminate against the

Plaintiff, and all those similarly situated by failing to make reasonable modifications in policies,
         Case 1:20-cv-00059-LAG Document 20 Filed 04/20/21 Page 9 of 10




practices or procedures, when such modifications are necessary to afford all offered goods,

services, facilities, privileges, advantages or accommodations to individuals with disabilities;

and by failing to take such efforts that may be necessary to ensure that no individual with a

disability is excluded, denied services, segregated or otherwise treated differently than other

individuals because of the absence of auxiliary aids and services.

25.      Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff

has retained the undersigned counsel and is entitled to recover attorney's fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

26.      Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to alter the subject websites to

make them readily accessible and useable to the Plaintiff and all other persons with disabilities

as defined by the ADA and 28 C.F.R. Section 36.302(e); or by closing the websites until such

time as the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

a.       The Court issue a Declaratory Judgment that determines that the Defendant at the

commencement of the subject lawsuit is in violation of Title III of the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

b.       Injunctive relief against the Defendant including an order to revise its websites to

comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and maintain

the websites to ensure that it remains in compliance with said requirement.

C.       An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C. §

12205.
       Case 1:20-cv-00059-LAG Document 20 Filed 04/20/21 Page 10 of 10




d.     Such other relief as the Court deems just and proper, and/or is allowable under Title III

of the Americans with Disabilities Act.

Respectfully Submitted,


        I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the

Court's electronic filing system upon all parties of record on March 19, 2021, and that a copy

was furnished by U.S. Mail to HJL HOSPITALITY LLC, C/O RAHIM SHAH, Registered

Agent, 5985 OAKBROOKE PKWY, NORCROSS, GA 30093, on the same date.



            .




                                                       By: /s/ Philip Michael Cullen, III
                                                       PHILIP MICHAEL CULLEN , III
                                                       Chartered
                                                       621 S Federal Highway
                                                       Fort Lauderdale, FL 33301-3146
                                                       954-462-0600
                                                       Fax: 462-1717
                                                       Email: CULLENIII@aol.com
